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                               UN ITE D STA TES D ISTR IC T CO U R T
                               SO U TH ER N D ISTR IC T O F FL O RIDA
                                CA SE N O .18-CR-20682-A LTON A GA

  U N ITED STA TES OE A M ERICA

  VS.

  M ATTHIAS KRU LL

                 D efendant.
                                 /

                                        PLEA A GREEM EN T

         The United States Attom ey's O ffce for the Southem D istrictof Florida and the U nited

  StatesDepartmentofJustice,CdminalDivision,Fraud Section (collectively,<ethisOffice''land
  M ATTHIAS KRULL (hereinafter referred to as the EEdefendant'') enter into the following
  agreem ent:

                 The defendantunderstands thathe has the rightto have the evidence and charge

  againsthim presentedtoafederalgrandjuryfordeterminationofwhetherthereisprobablecause
  to believe he com m itted the offense for w ilich he is charged.U nderstanding thatdght,and aRer

  fulland com plete consultation w ith llis counsel,the defendantagrees to w aive in open courthis

  rightto prosecution by Indictm ent,agrees to w aive any challenges to the statm e oflim itations or

  venue,and agreesthattllis Office m ay proceed by w ay ofan Inform ation filed pursuantto Rule 7

  ofthe FederalRules ofCrim inalProcedure.

                 The defendant agrees to plead guilty to count 1 of the Inform ation,wllich count

  chargesthe defendantw ith conspiracy to com m itm oney laundering in violation ofTitle 18,U nited

  StatesCode,Sections1956(h)and1957(a).
                 There are no otherchargesto dism iss.
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                 The defendant is aware that the sentence will be imposed by the Courtafter

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
  ççsentencing Guidelines'').The defendantacknowledges and tmderstands thatthe Courtwill
  com pute an advisory sentence underthe Sentencing Guidelines and thatthe applicable guidelines

  w illbe determ ined by the Courtrelying in parton the resultsofa pre-sentenceinvestigation by the

  Court'sprobationoffice,wllichinvestigationwillcbmm enceaftertheguiltypleahasbeen entered.

  The defendantis also aware that,under certain circlzm stances,the Courtm ay departfrom the

  advisory sentencing guideline range that ithas com puted,and m ay raise or low er thatadvisory

  sentenceundertheSentencing Guidelines.Thedefendantijfurtherawareandunderstandsthatthe

  Courtis required to consider the advisory guideline range determ ined under the Sentencing

  Guidelines,butisnotboundtoimposeasentencewithin thatadvisoryrange;theCourtispermitted
  totàilortheultimatesentenceinlighto?otherstatutoryconcems,andsuch sentencemaybeeither
  m ore severe orless severe than the Sentencing G uidelines'advisory range.Know ing these facts,

  the defendant lm derstands and acknow ledges that the Court has the authodty to im pose any

  sentence w ithin and up to the statutory m axim um authorized by 1aw for the offense identified in

  paragraph 1andthatthedefendantmaynotwithdraw theplea
                                                     'solelyasaresultofthesentence
  im posed.

                The defendant also lm derstands and acknow ledges thatthe Courtm ay im pose a

  term ofim pdsonm entofup to 10 years and m ay im pose a telnn of supelwised release ofup to 3

  years.ln addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a fine

  of up to $250,000 or twice the amotmt of the crinninally derived property involved in the
  transactions,whichever is greater,and m ay order cdm inalforfeim re and restitm ion.
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                 The defendant further understands and acknowledges that, in addition to any

  sentenceimposedunderparagraph 5ofthisagreem ent,aspecialassessm entin theam ountof$100
  w illbe im posed on the defendant.The defendantagreesthatany specialassessm entim posed shall

  be paid atthe tim e ofsentencing.Ifa defendantisfinancially unable to pay the specialassessm ent,

  the defendantagreesto presentevidence to this Office and the Courtatthe tim e ofsentencing as

  to the reasons forthe defendant's failure to pay.

                 Tllis O ffice reserves the dghtto infonu the Courtand the probation office of a11

  factspertinentto thesentencingprocess,including al1relevantinform ation concenling theoffenses

  com m itted,w hether charged or not, as w ell as concerning the defendant and the defendant's

  backpotmd.Subjectonlyto theexpresstermsofany apeed-upon sentencing recommendations
                                                                              y'
 'contained in tltisagreem ent,thisO ftk e furtherreservesthe rightto m ake any recom m endation as

  to the quality and quantity ofpunishm ent.

                 Tllis O ffice and the defendant agree that,although notbinding on the probation

  offce orthe Court,they willjointly recbmmend thatthe Courtimpose a sentence within the
  advisory sentencing guideline range produced by 'application of the Sentencing Guidelines.

  Although notbinding on the probation office or the Court,this O ffice and the defendantfurther

  agreethat,exceptasothem ise expressly contemplated in tllisPleaAgreement,they willjointly
  recom mend thatthe Courtneither departupward nor depaftdown
                                                            ' ward under the Sentencing

  Guidelines when determ ining the advisory sentencing guideline range in thiscase.

                 This O ffice agrees that itw illrecom m end at sentencing that the Cout'treduce by

  tw o levelsthe sentencing guidelinelevelapplicableto the defendant's offense,pursuantto Section

  3E1.1(a)oftheSentencing Guidelines,based upon thedefendant'srecognition and aftirmative
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  and timely acceptance ofpersonalresponki
                                         :
                                          bility.Ifatthe time ofsentencing .the defendant's
  offense levelis determined to be 16 or greater,this Office willfile a m otion requesting an

  additionaloneleveldecreaseptlrsuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
  thatthe defendanthas assisted authodties in the investigation or prosecution of the defendant's

  own m isconduct by tim ely notifying authodties of the defendant's intention to enter a plea of

  guilty, thereby perm itting the governm ent to avoid prepadng for trial and perm itting the

  governm entand the Courtto allocate theirresolzrces efficiently.ThisO ffice,how ever,w illnotbe

  required tomakethismotion ifthedefendant:(1)failsorrefusesto make a 111,acclzrate and
  complete disclosureto theprobation oftk e ofthe circum stancessurrounding therelevantoffense

  conduct;(2)isfotmdtohavemisrepresentedfactstothegovernmentpriortoentedngintothisplea
  agreement;(3)commitsanymisconductafterenteringintothispleaagreement,includingbutnot
  lim ited to com m itting a state or federal offense,violating any term of release,or m aldng false

  statementsormisrepresentationstoany govemmentalentityoroftkial;or,(4)failstofullyassist
  in the forfeiture ofassets as setforth in tllisplea agreem ent.

          10.    The defendantagrees thatthe defendant shallcooperate fully w ith this Oftk e by:
                                                                    N
  (a)providingtruthfulandcompleteinformationandtestimony,andproducingdocuments,records
  and otherevidence,whencalleduponbytllisOffice,whetherin interviews,beforeagrandjttry,
  oratanytrialorotherCourtproceeding;(b)appeadng atsnch g'
                                                         randjuryproceedings,headngs,
  tlials,andotherjudicialproceedings,andatmeetings,asmayberequiredbytlzisOffice;and (c)
  ifrequested by this Office,working in an undercoverrole lmderthe supervision otland in
  com pliance with,law enforcem ent officers and agents.ln addition,the defendant agrees that he
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  willnotprotectany person orentity through falseinformation orom ission,thathewillnotfalsely

  im plicate any person orentity,and thathe thathe w illnotconim itany furthercrim es.

                This O ffice reserves the dghtto evaluate the nature and extent ofthe defendant's

  cooperation and to make thatcooperation,orlack thereotllcnown to the Courtatthe time of
  sentencing.lfinthesoleandtmreviewablejudgmentofthisOfficethedefendant'scooperationis
  ofsuch quality and signitk ance to the investigation orprosecution ofothercrim inalm atters as to

  w arrantthe C ourt's dow nw ard departure from the advisory sentencing range calculated tm derthe

  Sentencing Guidelinesand/oranyapplicablem inim um mandatory sentence,thisOfficem aym ake

  a m otion priorto sentencing pursuantto Section 5K 1.1 ofthe Sentencing G uidelinesand/orTitle

  18,Urlited SàtesCode,Section 3553($,orsubsequenttosentencingpursuanttoRule35ofthe
  Federal Rules of Crim inal Procedure, infonning the Court that the defendant has provided

  substantialassistance and recom m ending thatthe defendant's sentencebe reduced.The defendant

  tm derstands and agrees,how ever,thatnothing in this agreem entrequires this O ffice to file any

  such m otions,and thattllis Office's assessm entofthe quality and significance ofthe defendant's

  cooperation shallbebinding asitrelatesto the appropdateness oftlzis O ffice'sfiling ornon-filing

  ofa m otion to reduce sentence.

         12.    The defendantunderstands and acknow ledgesthatthe Courtislm derno obligation

  to granta motion forreduction ofsentence filed by tllisOftk e.In addition,the defendantfurther

  tm derstands and aclcnow ledges thatthe Court is tm der no obligation of any type to reduce the

  defendant's sentence because ofthe defendant's cooperation.
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                This O ffice and the defendant agree that,although notbinding on the probation

  officeortheCourt,theywilljointlyrecommendthattheCourtmakethefollowing findingsand
  conclusionsasto the sentence to be im posed:

               a.      TheBase OffenseLevelisproperly calculated underSection 2S1.1(a)
                                                                                     ,(2)
        and is38 becausethe value ofthelaundered fundsexceeds$550 m illion,thehighestlevel
        setforth in thetable in Section 2B 1.1;

                       Business of Laundering: The defendant should receive a 4 level

        enhancem entbecause the defendantWas in the business oflaundering funds,plzrsuantto

        Section2S1.1(b)(2)(C)oftheSeniencingGuidelines.
                       No other adjustments apply,save for Acceptance of Responsibilitv in
        accordance w ith Paragraph 7 above and Section 3EI.I.

                       The Total Offense Levelis 42 less any adjustmentforAcceptance of
        Responsibility.

                       Because the lo-year statutorily authorized m axim um sentence is lessthan

        anym inimum applicableguidelinerangeundertheabovecalculation,theguidelinejentence

        is10yearsunderSection 5G1.1(a).
         14.    Thedefendantisawarethatthesentencehasnotyetbeen detenninedby theCourt.

  The defendantalso isaw arethatany estim ate oftheprobable sentencing range orsentencethatthe

  defendantm ay receive,whetherthatestim ate com es from the defendant'sattorney,thisO ffice,or

  theprobationoffice,isaprediction,notapromise,andisnotbindigonthisOftke,theprobation
  office orthe Cotlrt.The defendanttm derstands further thatany recom m endation thatthis O ffice

  m akesto theCourtasto sentencing,w hetherpursuantto tllisagreem entorothem ise,isnotbinding
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                                           !!

  on the Courtand the Courtm ay disregard the recomm endation in its entirety.The defendant

  understan
          'ds and acknowledges, as previously acknow ledged in parar aph 3 above, that the

  defendantm ay notw ithdraw hisplea based upon the Court's decision notto accepta sentencing

  recommendation madeby the defendant,thisOffice,orarecommendation madejointly by the
  defendantand thisOffice.

                ThedefendantagreestoforfeittotheUnitedStatesvoluntarilyandimmediatelya1l
  property, real or personal, involved in the violation of Title 18,U nited States Code, Section

  1956(h)chargedi.
                 n theInformation and/oryropertythatconstitutessubstitmeassets,pursuantto
  Title18,UnitedStatesCode,Section982(a)(1)andTitle21,UnitedStatesCode,Section 853(19.
 ; The defendant agrees to consent to the entry of orders of forfeittzre for such property. The

  defendant adm its and agrees thatthe conduct desclibed in the crim inal com plaint,Inform ation,

  and factualprofferprovides a sufficientfactualand statutorybasisforthe forfeiture oftheproperty

  soughtby the U nited States.

         16.    The defendant also agrees to assist tllis Office in a11 proceedings, w hether

  administrativrorjtldicial,involvingtheforfeittzretotheUnitedStatesofa11assets,incluclingreal
  and personal property, cash, and other m onetary instnzm ents, wherever located, w hich the

  defendant, or others to the defendant's know ledge, have accllm ulated as a result of illegal.

  activities,or are forfeitable as substitute assets in theplace ofassets accumulated as a resultof

  illegalactivities.The defendantftlrtheragreesthata1lelem entsofTitle 21,United StatesCode,

  Section 8531)havebeen satisfied.Thedefendantfurtheragreestotakea11stepsnecessary to
  locatepropertythatcouldbeusedto satisfytheforfeiturempneyjudgmentandtopasstitletothe
  United States.To thatend,defendantagreesto ftzlly assistthe O fficein the recovery and return to
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  the United Statesofany assets,orportionsthereof,whereverlocated.The assistance shallinclude:

  identificationofanypropertysubjecttoforfeiture,agreementtotheentl'yofanorderenjoiningthe
  transferorencumbranceofsuch property,and thetransferofsuchpropertytotheUnited Statesby

  delivery to this O ffice,upon this O ffice'srequest,any necessary and appropdate doclzm entation,

  includingconsentsto forfeiture and quitclaim deeds,to delivergood and m arketabletitleto such

  property.The defendantftzrtheragrees to liquidate assets,or/com plete any othertasksw hich will

  resultin immediatepaymentofthe forfeiture moneyjudgmentin 111,orfullpam entin the
  shortestam otmtoftim e,asrequestedbythe Oftice.

                The defendantagreesto m ake fulland accurate disclosttre ofhisfinancialaffairsto

  tllisO ffice and expressly authorizès thisO ffice to obtain a creditreport.The defendantagreesthat

  witllin 10 calendardaysand upon requestofthisOffice,the defendantshallsubmita com pleted

  FinancialDisclosureStatement(form providedbythisOffice),andshallf'ullydiscloseandidentify
  a1lassetsin which he hasany interestand/oroverwhich thedefendantexercisescontrol,directly

  orindirectly,including thoseheld by a spouse,nom inee,orotherthird party.The defendantagrees

  that providing false or incom plete information about his financial assets,or hiding,selling,

  transferring or devaluing assets and/or failing to cooperate f'ully l
                                                                      in the investigation and

  identificationofassetsmaybeusedasabasisfor:(i)separateprosecution,including,underTitle
  18,United States Code,Section 1001,
                                    .or(ii)recommendation ofa denialofa reduction for
  acceptance of responsibility plzrsuant to Section 3E1.1 of the Sentencing Guidelines. The

  defendantagreesthathe willnotsell,hide,waste,encumber,destroy,or otherwise devalue any

  assetwithoutpriorapprovalofthisOffice,untilhisforfeituremoneyjudgmentispaidinftlll.Upon
  requestoftllisOffice,thedefendantshallalso identify any transferofassetsvalued in excessof


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  $5,000 sincethe datewhen hebecam eaware ofthe criminalinvestigation,including theidentity
  oftheasset,thevalueoftheasset,theidentity ofthethirdparty to whom theassetwastransferred,

  andthecurrentlocation ofthe asset.

         18.    The defendant further understands that forfeiture is independent of any

  assessm ents,snes,costs,restittztion,orany otherpenalty thatm ay beimposed by theCourt.The

  defendantfurtheru owingly and voluntadly:(1)waivesa11constimtional,legaland equitable
  defensestotheforfeittzreoftheassetsinanyjudicialoradministrativeproceeding,(2)waivesany
  applicabletimelimitsforthe initiation ofadministrative orjudicialforfeimreproceedings,(3)
  w aives any claim or defense under the Eighth A m endm ent to the U nited States Constitm ion,

  includinganyclaim ofexcessivefineorpenalty,and(4)waivesanydghttoappealtheforfeiture.
         19.    The defendantis aw are thatTitle 18,United States Code,Section 3742 and Title

  28 U rlited StatesCode,Section 1291afford the defendantthedghtto appealthe sentenceim posed

  in tlzis case.Acknow ledging this,in exchange forthe undertakingsm adeby this Office in thisplea

  agreem ent,the defendanthereby w aives a11dghtsconfen'
                                                       ed by Sections 3742 and 1291 to appeal

  any sentence im posed, including any restitm ion order,or to appeal the m anner in which the

  sentence w as im posed,'lnless the sentence exceeds the m axim um pennitted by statm e or is the

  resultofan uppard departure and/oran upward vadance f'
                                                       rom the advisory guideline range that

  the Court establishes at sentencing. The defendant further understands that nothing in this

  agreementshallaffectthisOffice'srightand/ordutytoappealassetforth in Title 18,United States

  Code,Section 3742(b)and Title28,United StatesCode,Section 1291.However,ifthisOffice
  appealsthedefendant'ssentencepursuantto Sections3742(b)and 1291,thedefendantshallbe
  released f'
            rom the above waiver of appellate dghts. By signing this agreem ent,the defendant
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   acknowledgesthatthe defendanthasdiscussed the appealwaiversetforth in thisagreem entwith

   thedefendant'sattorney.

          20.     Thedefendantrecognizesthatpleading gtzilty mayhaveconsequenceswithrespect

   to the defendant'sim m igration statusifthe defendantis nota citizen oftheU nited States. U nder

   federallaw,a broad range ofcdm esareremovable offenses,including the offenseto which the

   defendant is pleading guilty.Indeed,because the defendant is pleading guilty to conspiracy to

   com m itm oney laundedng,rem ovalispresum ptively m andatory.Rem ovaland otherim m igration

   consequencesarethesubjectofaseparateproceeding,however,and thedefendantunderstands
   thatno one,including the defendant'sattorney ortheCourt,can predictto a certainty the effectof
                                                               .




   the defendant'sconviction on the defendant'simmigration status.The defendantnevertheless
   affirm s thatthe defendantw ants to plead guilty regardless ofany im m igration consequences that

   the defendant's plea m ay entail,even if the consequence is the defendant's autom atic rem oval

   from theUnited States.

          21. TilisOféceandthedefendantstipulatetoandagreenottocontestthefactsinthe
   Factualproffer,andstipulatethatsuchfacts,inaccordancewithRule11*)(3)oftheFederalRules
   of Cdm inal Procedure,provide a suftk ientfactualbasis for the plea of guilty in this case.The

   defendant agrees that the facts in the Facm al Proffer are true and correct to the best of the

   defendant's know ledge.Because the facttzalbasis setforth in the FactualProffer hasthe liznited

   purpose of supporting the defendant's guilty plea to the charge discussed in paragraph tw o,the

   facttzal basis set forth in the Factual Proffer does not purport to represent a11 facts and

   circtlm stances relating to the defendant'sparticipation.Sim ilarly,the factualbasis in the Factual




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      Profferisnotintended to identify a11know ledgethe defendantm ighthave ofthe unlaw fulactivity

      ofotherindividuals.

             22.     ln the eventthe defendantw ithdraw s f'
                                                           rom thisagreem entpriorto orafterpleading

      guilty to the charge identified in paragraph two above,orshould this Office,in its sole discretion,

      determinethatthedefendanthasfailedto fully complywithany oftheterm softhispleaagreem ent,

      this Office willbe released from its obligations under this agreem ent,and the defendant agrees

      and tm derstandsthat:

             (a)thedefendantthereby waivesanypr'otection afforded by anyprofferletteragreement
      between theparties,Section 1B1.8oftheSentencing Guidelines,Rule11(9 oftheFederalRules
  '
      ofCdm inalProcedlzre,and Rule 410 ofthe FederalRules ofEvidence;

             (b)that any statements made by the defendant as partof the plea discussions,any
      debriefingsorinterview s,orin tllis agreem ent,w hetherm adepdorto or afterthe execution ofthis

      agreem ent, w ill be adm issible against llim w ithout any lim itation in any civil or crim inal

      proceeding broughtby this Office;

             (c)the defendant'swaiverofany defensebased on thestatute oflimitationsand venue,
      including the w aiversetforth in this agreem ent,or any defense based on the passage oftim e in

      filing an lndictm entorInform ation,referred to herein,shallrem ain in fullforce and effect;

             (d)thedefendantstipulatestotheadmissibilityandauthenticity,inanycasebroughtbythe
      Urlited States in any w ay related to the facts referred to in this agreem ent, of any docum ents

      provided by the defendantorthe defendant's representativesto any state orfederalagency and/or

      thisO ffice;and




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              (e)thedefendanthasadoptedtheentirefacttzalbasisasthedefendant'sstatements,andthr
                                                               t'
      defendant has stipulated to the adm issibility of the FactualProffer in any case broughtby the

      United States.

              23.   Tllis is the entire apeem ent and uhderstanding between this Office and the
      defendant.There areno otheragreem ents,prom
                                                ' ises, representations,ortm derstandings.




                                                 BEN JA M W G .GREEN B ERG
                                                 U NITED STA TES A TTO RN EY


      Date:nlzwltv                               By:
                                                 FRA CISC O R .M A D EM L
                                                 M ICH A EL B .N A DLER
                                                 A SSISTA N T U N ITED STA TES A TTORN EY S

                                                 SA N DM L.M O SER
                                                 A CTIN G CH IEF,FM U D SECTION
                                                 U .S.D epartm entofJustice,Crim inalD ivision


      Date:                                      By '
                                                 DA V S.JOH N S N
                                                 A SS TAN T CH IEF
                                                 GW EN D OLY N A .STA M PER
                                                  RG L A TTORN EY


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                                                ATTO          F       FEN DA N


      Date: % n.x k%
                                                 M A TTH G S U LL
                                                 DEFEN D AN T



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